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 2                             UNITED STATES DISTRICT COURT

 3                         EASTERN DISTRICT OF CALIFORNIA

 4

 5   UNITED STATES OF AMERICA,                  No. 2:15-cr-00190-GEB
 6                 Plaintiff,
 7        v.                                    AMENDED ORDER DENYING DEFENDANT’S
                                                MOTION TO CORRECT HIS SENTENCE
 8   MICHAEL ROMANO,                            UNDER THE CLEAR ERROR PRINCIPLE
                                                IN CRIMINAL RULE OF PROCEDURE
 9                 Defendant.                   35(a)
10

11              Defendant Michael Romano (“Romano”) filed a motion under

12   Federal Rule of Criminal Procedure (“Rule”) 35(a) on September 11,

13   2018, in which he argues his sentence must be corrected under the

14   clear error principle in Rule 35(a).                Rule 35(a) prescribes: “Within

15   14 days after sentencing, the court may correct a sentence that

16   resulted   from     arithmetical,     technical,           or    other   clear   error.”

17   Def.’s Mot. to Correct Clear Error, ECF No. 467.                    Romano argues     in

18   a conclusory manner that the Rule 35(a) “clear error [at issue] . .

19   . led to the imposition of [his] 37-month sentence [and that this

20   clear error consists of the sentencing judge’s failure to provide

21   him with] notice that the facts in the [Final Presentence Report

22   (“PSR”)] were in dispute.” Id. at 1:27–28.                       Specifically, Romano

23   asserts the purported Rule 32(f)(1) clear error as follows: “If the

24   [sentencing judge]        was not   going to accept all or some of the

25   undisputed facts [in the PSR], the [sentencing judge] should have

26   provided   notice    to    the   parties       so   that   the    parties   could   have

27   presented evidence to the Court establishing the facts in issue.”

28   Id. at 2:22-24 (emphasis added).
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 1               This argument fails to evince that Romano understands the

 2   sentencing procedures prescribed in Rule 32(f)(1) apply to parties,

 3   not judges.       Rule 32(f)(1) states: “Within 14 days after receiving

 4   the    presentence     report,   the    parties    must   state       in   writing   any

 5   objections, including objections to material information, sentencing

 6   guideline ranges, and policy statements contained in or omitted from

 7   the report.” (emphasis added).           A judicial notice requirement is in

 8   Rule 32 (h) but that notice requirement is not applicable to the

 9   guideline sentence Romano received, “[a]nd nowhere else in the law

10   is the judge required to explain his reasoning before counsel have

11   argued to him.” United States v. Vega-Santiago, 519 F.3d 1, 5-6 (1st

12   Cir. 2008) (indicating that no formal rule is required for a court

13   to adopt a prudential notice policy concerning “a variant sentence

14   relying    on   some   ground    or    factor    that   would    unfairly      surprise

15   competent and reasonably prepared counsel . . . ”).                    “In the normal

16   case a competent lawyer . . . will anticipate most of what might

17   occur at the sentencing hearing-based on the . . . pre-sentence

18   report [and] the exchanges of the parties concerning the report . .

19   . Vega-Santiago, 519 F.3d at 5.

20               Further,       Romano’s      arguments        conflate         facts     with

21   inferences that can be drawn from the asserted facts and indicate

22   that    certain    factual   and      legal     conclusions     are    tantamount      to

23   undisputed facts which the judge is required to adopt.                     Clearly, the

24   sentencing judge has discretion to draw rational inferences from the

25   facts Romano asserts are undisputed, and to rely on those drawn

26   inferences when disagreeing with Romano’s departure arguments. Cf.,

27   Tellabs, Inc. v. Makor Issues & Rights, Ltd., 551 U.S. 308, 314

28   (2007), (indicating that a judge has authority to “engage in a
                                               2
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 1   comparative evaluation,” of inferences by “consider[ing] not only

 2   inferences urged by [a party] . . . but also competing inferences

 3   rationally drawn from the facts.”).

 4                Romano’s     arguments       indicate      that   a    sentencing      factual

 5   record can be expanded beyond the time limits in Rule 32 without a

 6   showing that good cause justifies the explanation, and that this

 7   expansion could occur simply because a sentencing judge decides to

 8   disagree with a Probation Officer’s downward departure conclusions.

 9   No mechanical rule has been shown to exists mandating formal notice

10   in every case where the judge may conceivably                         have a different

11   opinion from what is contained in the PSR. Rule 32(i)(1)(D) states:

12   “At sentencing, the court . . . may, for good cause, allow a party

13   to make a new objection at any time before sentence is imposed.”

14   However, Romano did not show good cause at the sentencing hearing

15   justified    expansion      of    the    factual       sentencing     record.       Romano’s

16   arguments    at     the   sentencing         hearing    concerning        the   absence    of

17   evidence    supporting     his    downward        departure    arguments        reveals   he

18   simply did not consider obtaining additional facts supporting his

19   departure arguments, other than facts to which he and the United

20   States stipulated comprised the sentencing factual record at the

21   sentencing hearing.

22                Nor does Romano reconcile in his motion the sua sponte

23   judicial duty he argues exists with the Ninth Circuit’s statement in

24   United States v. Leon, 341 F.3d 928, 932 (9th Cir. 2003): “Our own

25   pre-Koon     cases    using      the    de     novo    standard      of    review      denied

26   departures     to    defendants         who    had     not   shown    that      they    were

27   irreplaceable caretakers.”              See also United States v. Menyweather,

28   447 F.3d 625, 633 (9th Cir. 2006) (“[c]onclud[ing] that Defendant
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 1   did not prove that she provides care that is irreplaceable or that

 2   could not feasibly be provided by another”).                       This law bespeaks that

 3   Romano    bears    the    burden    of   ensuring          that    the   sentencing    record

 4   contains sufficient facts to support his departure requests.

 5               Notwithstanding that it is evident that the findings in

 6   the PSR are adopted and found to be correct unless a finding in the

 7   PSR conflicts with the sentencing decision, Romano argues under the

 8   Rule 35(a) clear error principle that the judge had a sua sponte

 9   notice duty that has not been shown to exist, and that the failure

10   of the judge to discharge this phantom duty is clear error under

11   Rule 35(a).       This argument is not within the scope of the Rule 35(a)

12   clear error principle.             “Every relevant authority agrees that the

13   scope of ‘clear error’ correctable under Rule 35(a) is extremely

14   narrow.     Although courts take different approaches to Rule 35(a),

15   all essentially agree that ‘clear error’ under the Rule requires

16   some reversible error at . . . sentencing . . . .”                        United States v.

17   Fields,   552     F.3d    401,   404     (4th       Cir.   2009)    (citations       omitted).

18   Romano has not “point[ed] to [any] reversible error that occurred at

19   [sentencing].”           Id.     Neither        the    Guidelines        nor   any   statute,

20   national rule, or local rule requires the judge to do what Romano

21   argues was required regarding his sentencing proceeding.                             Since it

22   is pellucid that “the district court [lacks] authority to amend the

23   sentence after entry of the judgment and commitment order,” filed on

24   September 6, 2018, United States v. Ceballos, 671 F.3d 852, 854 (9th

25   Cir. 2011), Romano’s motion is denied.

26               Dated:       September 17, 2018

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